Case 2:04-Cr-20471-BBD Document 96 Filed 09/02/05 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR TI'IE WESTERN DISTRICT OF TENNESSEE
WESTER.N DIVISION

UNITED STATES OF AMERICA
Plai:nt i f f ,
VS. CR. NO. 04-2047l-D

TAMCY CRAIG
Defendant.

-._.--...~V~_»v-._,v-._¢~._¢\-...~

Page|D 107(
'H'£D BY life D.c.
sssEP~z PH 5= 25

m _ THo.ws y Gouw
wm c mc:(sw

l*v`LLFr

 

ORDER ON CHANGE OF PLEA.
AND SETTING

 

This cause came to be heard on September 2, 2005, the United States
Attorney for this district, Timothy R. DiScenza, appearing for the
Government and the defendant, Tammy Craig, appearing in person and with

counsel, Lawrence W. Kern, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count l of the

Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this Case is SET for MONDAY, DECEMBER 5, 2005, at
1:00 P.M., in Courtroom No. 3, on the 9th floor before Judge Bernice B.

Donald.

Defendant is allowed to remain released on present bond.

ENTERED this thezaA day of September, 2005.

 

ITED STATES DISTRICT J'UDGE

eat in compliance

f

Tmsdocumentemeredonthedockets
‘.~:"‘H P.':We S= 2»'=»'!!01'32(!:)) F'RCrP On 5

 

 

thice of Distribution

This notice confirms a copy of the document docketed as number 96 in
case 2:04-CR-20471 Was distributed by faX, mail, or direct printing on
September 8, 2005 to the parties listed.

 

LaWrence W. Kern
KERN LAW FIRM

51 18 Park Avenue

Ste. 600

i\/lemphis7 TN 38117--571

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

